 Case 2:21-cr-00520-JNP Document 203 Filed 03/01/24 PageID.3213 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                        ORDER TO CONTINUE SENTENCING

                   Plaintiff,

  v.

  ALLISON MARIE BAVER,                                      Case No. 2:21-cr-00520

                   Defendant.                             Honorable Judge Jill Parrish



       Based on the motion to continue filed by the Defendant, Allison Marie Baver, and good

cause appearing;

       IT IS HEREBY ORDERED that the sentencing hearing scheduled for April 10, 2024, is

continued to the 8th day of August, 2024, at 11:00 a.m.

       DATED this 1st day of March, 2024.

                                                    BY THE COURT:



                                                    ___________________________________
                                                    HONORABLE JILL N. PARRISH
                                                    United States District Court Judge




                                               1
